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                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §              Case No: 2:16-cv-0000406-RWS
                                    §
      vs.                           §              LEAD CASE
                                    §
SPOTIFY USA, INC.                   §
                                    §
      Defendant.                    §
___________________________________ §


    UNOPPOSED MOTION TO DISMISS SPOTIFY USA, INC. WITH PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Rothschild
Distribution Systems, LLC (“RBDS”) files this Unopposed Motion to Dismiss Spotify USA, Inc.
(“Spotify”) With Prejudice.
       Wherefore, RBDS moves this Court to dismiss this action and all claims by and between
parties, with prejudice, with each party to bear its own costs, attorney’s fees and expenses and
request that the Court enter the proposed order of dismissal submitted herewith.
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Dated: August 18, 2016                      Respectfully submitted,
                                            /s/ Jay Johnson
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                                            ATTORNEYS FOR PLAINTIFF



                            CERTIFICATE OF CONFERENCE

The undersigned certifies that on August 18, 2016, he met and conferred with counsel for
Defendant concerning this motion and that Defendant’s counsel agreed to the motion.

                                            /s/ Jay Johnson
                                            Jay Johnson

                               CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on August 18, 2016.

                                            /s/ Jay Johnson
                                            Jay Johnson
